Case 8:18-cv-00901-MSS-AAS Document 68 Filed 05/13/19 Page 1 of 2 PageID 542



                           UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

DONALD ANDERSON,                                      Case No.: 8:18-cv-00901-MSS-AAS

       Plaintiff,
vs.
THADDEUS MICHAEL BULLARD
SR. a/k/a TITUS O’NEIL; and WORLD
WRESTLING ENTERTAINMENT, INC.,

       Defendants.
_____________________________________ /
                                  NOTICE OF SETTLEMENT

        Plaintiff, DONALD ANDERSON, through undersigned counsel and pursuant to Local

 Rule 3.08, hereby notifies the Court that the parties have settled this matter. Undersigned

 respectfully requests that the Court allow for the case to remain open for an additional thirty (30)

 days while the parties complete the terms of the settlement.
Case 8:18-cv-00901-MSS-AAS Document 68 Filed 05/13/19 Page 2 of 2 PageID 543



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the foregoing was served on this 13th day of May, 2019, through

electronic mail to Justin T. Saar, Esq., Cole, Scott & Kissane, P.A., 4301 West Boy Scout

Boulevard,   Suite    400,   Tampa,     Florida    33607,     at    dan.shapiro@csklegal.com,

justin.saar@csklegal.com, and alice.hartranft@csklegal.com, Counsel for Defendant, WORLD

WRESTLING ENTERTAINMENT, INC; and to Mario E. Torres, Esq., Torres Benet, 5308 Van

Dyke Road, Lutz, Florida 33558, at mariotorres@torresbenet.com and eservice@torresbenet.com,

Counsel for Defendant, THADDEUS MICHAEL BULLARD SR. a/k/a TITUS O’NEIL.

                                             By:/s/Derek    Metts
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